Dear Secretary Carnahan:
This opinion letter responds to your request dated November 24, 2010, for our review under § 116.334, RSMo, of a proposed summary statement prepared for the petition submitted by Herman Kriegshauser regarding a proposed amendment to Article X of the Missouri Constitution. The proposed summary statement is as follows:
  Shall the Missouri Constitution be amended to provide a 60% state income tax credit for contributions or donations made by individuals and corporations to Missouri incorporated and operated charitable and educational not-for-profit corporations, organizations, institutions and foundations in addition to the deductions currently allowed for federal and state income taxes?
Pursuant to § 116.334, RSMo, we approve the legal content and form of the proposed statement. Because our review of the statement is mandated by statute, no action that we take with respect to such review should be construed as an endorsement of the petition, nor as the expression of any view regarding the objectives of its proponents.
                                         Very truly yours,
                                         _________________________ CHRIS KOSTER Attorney General *Page 1 